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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


  UNITED STATES OF AMERICA,                CR 16-48-GF-BMM

              Plaintiff,
                                           ORDER TO DISMISS THE
        vs.                                INDICTMENT WITHOUT
                                           PREJUDICE
  ZANE COLTIN CHANDLER,

              Defendant.



      Upon the United States' Unopposed Motion to Dismiss Indictment Without

Prejudice (Doc. 47) under Federal Rule of Criminal Procedure 48(a), and good

cause being shown,

      IT IS HEREBY ORDERED that the Indictment in this case is DISMISSED

without prejudice.

      DATED this 22nd day of November, 2016.




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